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                EXHIBIT B
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                                         YALE UNIVERSITY
                                     SCHOOL OF MEDICINE
                                     DEPARTMENT OF PSYCHIATRY


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September 4, 2020

Bandy X. Lee, M.D., M.Div.

Dear Dr. Lee:

Provost Strobel has shared with me your belief that you did not have an adequate
opportunity to understand and respond to the concerns that caused the Department of
Psychiatry to deny your request for reappointment. Provost Strobel has asked me to
explain to you the basis of the Department’s decision, and I am happy to do so.

As you know, on January 17, 2020, a review committee, composed of Dr. Kapoor, Dr.
Rohrbaugh, Dr. Zonana and me, met with you for an hour-long discussion of your role in
the Department, which consisted of teaching and mentorship in the Division of Law and
Psychiatry. Although, at one time, you supervised forensic psychiatry fellows working
with the Yale Law School clinics, you ceased doing so a few years ago. In recent years,
you mainly provided case evaluations and acted as a consultant to law students in the
clinical program. At the beginning of this year, that role came to an end, partly due to a
concern that your psychiatric opinions were open to challenge in court. In addition,
your attendance at key didactic seminars within the Department, such as Friday case
conferences, dwindled in 2019. By the beginning of this year, you had no formal
Departmentally-sanctioned teaching activities. Your only teaching role was outside the
Department, as supervisor to two undergraduates and a medical student doing projects
on prison violence

Given these circumstances, the review committee needed to consider whether the
Department could offer you a continuing teaching role, and we met with you to help us
make that decision. The key question in our minds was whether you had the clinical
judgment and professionalism to teach trainees key aspects of their profession. Your
diagnostic impressions of President Trump and several other public figures and your
recommendations for treating President Trump played a role in our discussion. This was
not because of the political content of your speech. As you know, the Department and
the University publicly defended your academic freedom and your right to express your
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opinions as a citizen. As detailed below, the Committee’s concern was what your
diagnoses and treatment recommendations said about your clinical abilities and
professionalism.

Since 2017, you have taken the position that you have a “duty to warn” the public that
President Trump presents a threat to public safety. The duty to warn derives from the
Tarasoff decision and subsequent legal developments, and it applies to clinicians in a
treatment relationship with a potentially dangerous person. It has never been applied
outside that context. In public comments, you said that President Trump was
incapacitated by a psychiatric disorder, and you identified symptoms such as aggressive
speech, sexual misconduct, incitement to violence, belief in conspiracies, declining
cognitive functioning, and neurological deficits. Initially, you did not identify the
disorder causing these supposed symptoms. In December 2019, you said publicly that
President Trump exhibited a “pattern of delusions,” was “lacking rational decision-
making capacity,” and had “definitive signs of severe pathology” that required “an
advanced level of care.” In January 2020, you called for “an involuntary evaluation” of
President Trump, and you said, “I am beginning to believe a mental health hold . . . will
become inevitable.” That same month, you publicly suggested that President Trump,
Rudolph Giuliani and Alan Dershowitz had a “shared psychosis.”

I want to emphasize that you did not make these statements as a layperson offering a
political judgment; you made them explicitly in your professional capacity as a
psychiatrist and on the basis of your psychiatric knowledge and judgment. For that
reason, the committee decided it was appropriate to consider how these statements
reflected your ability to teach trainees.

We began our discussion by asking you to address whether your diagnosis of President
Trump and your treatment recommendations should have included a disclaimer
regarding limited evidence, whether they adequately reflected the process of
differential diagnosis, and whether you applied any recognized standards when you
determined on the basis of his public statements that President Trump presented a
danger to the public health. Your responses failed to address any of these points.

Our discussion then turned to your statement that President Trump and Mr. Dershowitz
had a shared psychosis. You told us that “someone doesn’t have to be psychotic in
order to have a psychosis;” that your observations had convinced you that the strong
emotional bond between President Trump and his followers “is a group phenomenon of
shared psychosis;” and that, in the presence of this bond, “the default is that you would
expect a shared psychosis.” You further claimed that you were misquoted; that, in fact,
you had said President Trump and Mr. Dershowitz “may” have a shared psychosis; and
that you meant to say that they have a shared delusional disorder. We asked you to
explain in detail the basis for this diagnosis, and none of the evidence you offered met
the DSM-5 criteria for shared delusional disorder. The committee also noted that you
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explored no other explanations that might have accounted for the data that led you to
your diagnosis.

Following our discussion with you, the committee considered whether the information
that you shared with us was relevant to your capacity to teach trainees the core
competencies required by the ACGME. We decided that our discussion with you
implicated three of the six competencies: medical knowledge, interpersonal and
communication skills, and professionalism.

In regard to medical knowledge, the ACGME requires trainees “to demonstrate
knowledge about established and evolving biomedical, clinical, and cognate sciences
and the application of this knowledge to patient care.” Our discussion of your diagnosis
of shared psychosis or, as you preferred, shared delusional disorder convinced the
committee that you do not adequately understand or choose not to follow current
methods for diagnosing psychotic disorders, which are common in the psychiatric
practice that our trainees will enter.

In regard to interpersonal communication skills, the ACGME requires trainees “to
demonstrate interpersonal and communication skills that result in effective information
exchange and teaming with patients, patients’ families, and professional associates.” In
our lengthy discussion with you, you were unable to explain to four trained colleagues
the basis of a very serious diagnosis. In addition, you have made many conflicting,
confusing, and sometimes inaccurate public statements about psychiatric diagnosis and
the profession’s duty to warn.

Finally, the ACGME requires trainees “to demonstrate a commitment to carrying out
professional responsibilities, adherence to ethical principles, and sensitivity to a diverse
patient population.” Although the committee does not doubt that you are acting on the
basis of your personal moral code, your repeated violations of the APA’s Goldwater Rule
and your inappropriate transfer of the duty to warn from the treatment setting to
national politics raised significant doubts about your understanding of crucial ethical
and legal principles in psychiatry.

In light of the above concerns, the Committee concluded that the Department should
not seek a new teaching role for you. The Committee report was shared with the
Executive Committee of the Department of Psychiatry and discussed at length. Its
recommendation, that your teaching duties not be reinstated, was endorsed
unanimously by the Executive Committee. In the absence of a formal teaching role,
your voluntary appointment lapsed.

I hope that this letter clarifies the process leading to the Department decision to not
reinstate your teaching responsibilities. We recognize that without formal teaching
responsibilities your appointment could not be reinstated.
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Sincerely,




John H. Krystal, M.D.
Robert L. McNeil, Jr. Professor of Translational Research
Professor of Psychiatry, Neuroscience, and Psychology
